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IN THE UNITED STATES DISTRICT COURT 1 FEB 08 2019

IN THES OFFICE
Clerk U.S. District Court |
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FOR THE MIDDLE DISTRICT OF NORTH CAROLI

 

UNITED STATES OF AMERICA; 1:17CR460-1
V:
PAULA KAY BULLOCK PLEA AGREEMENT

NOW COME the United States of America, by and through Matthew
G.T. Martin, United States Attorney for the Middle District of North Carolina,
and the defendant, PAULA KAY BULLOCK, in her own person and through
her attorney, Paul M. Dubbeling, and state as follows:

1. The defendant, PAULA KAY BULLOCK, is presently under
Superseding Indictment in case number 1:17CR460-1, which in Counts One,
Three, Nine, Ten, Thirteen, Sixteen, and Nineteen charge her with violations
of Title 18, United States Code, Section 1343, wire fraud; which in Counts Two,
Four, Six, Eight, Eleven, Fourteen, Seventeen, Twenty, and Twenty-Three
charge her with violations of Title 18, United States Code, Section 1028A(a)(1),
aggravated identity theft; which in Counts Five and Seven charge her with
violations of Title 18, United States Code, Section 1029(a)(2), use of
unauthorized access devices; which in Counts Twelve, Fifteen, Eighteen, and
Twenty-One charge her with violations of Title 21, United States Code, Section

843(a}(3), obtaming a controlled substance by fraud; and which in Count

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Twenty-Two charges her with a violation of Title 18, United States Code,
Section 1001(a)(3), false statements. )

2. The defendant, PAULA KAY BULLOCK, will enter a voluntary plea
of guilty to Counts Seven and Twenty-Two of the Superseding Indictment
herein. The nature of these charges and the elements of these charges, which
must be proved by the United States beyond a reasonable doubt before the
defendant can be found guilty thereof, have been explained to her by her
attorney.

a. The defendant, PAULA KAY BULLOCK, understands that the
maximum term of imprisonment provided by law for Count Seven of the
Superseding Indictment herein is not more than ten years, and the maximum
fine for Count Seven of the Superseding Indictment herein is $250,000. Ifany
person derived pecuniary gain from the offense, or if the offense resulted in
pecuniary loss to a person other than the defendant, PAULA KAY BULLOCK,
the defendant may, in the alternative, be fined not more than the greater of
twice the gross gain or twice the gross loss unless the Court determines that
imposition of a fine in this manner would unduly complicate or prolong the
sentencing process. The fine provisions are subject to the provisions of Title

18, United States Code, Section 3571, entitled Sentence of Fine.

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b. The defendant, PAULA KAY BULLOCK, understands that the
maximum term of imprisonment provided by law for Count Twenty-Two of the
Superseding Indictment herein is not more than five years, and the maximum.
fine for Count Twenty-Two of the Superseding Indictment herein is $250,000.
If any person derived pecuniary gain from the offense, or if the offense resulted
in pecuniary loss to a person other than the defendant, PAULA KAY
BULLOCK, the defendant may, in the alternative, be fined not more than the
greater of twice the gross gain or twice the gross loss unless the Court
determines that imposition of a fine in this manner would unduly complicate
or prolong the sentencing process. The fine provisions are subject to the
provisions of Title 18, United States Code, Section 3571, entitled Sentence of
Fine.

c. The defendant, PAULA KAY BULLOCK, also understands
that, as to Counts Seven and Twenty-Two of the Superseding Indictment
herein, the Court may include as a part of the sentence a requirement that the
defendant be placed on a term of supervised release of not more than three
years after imprisonment, as to each count, pursuant to Title 18, United States
Code, Section 3583.

d. The defendant, PAULA KAY BULLOCK, understands that the

Court shall order, in addition to any other penalty authorized by law, that the
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defendant make restitution to any victim of the offense to which she is pleading
guilty that has restitution due and owing, pursuant to Title 18, United States
Code, Section 3663A(a)(1). The defendant, PAULA KAY BULLOCK, further
agrees to pay restitution, as determined by the Court, to any victims harmed
by defendant's relevant conduct, as defined by U.S.S.G. § 1B1.3, pursuant to
Title 18, United States Code, Section 3663A(a)(3).

e. The defendant, PAULA KAY BULLOCK, further
understands that the sentence to be imposed upon her is within the discretion
of the sentencing Court subject to the statutory maximum penalties set forth
above. The sentencing Court is not bound by the sentencing range prescribed
by the United States Sentencing Guidelines. Nevertheless, the sentencing
Court is required to consult the Guidelines and take them into account when
sentencing. In so doing, the sentencing Court will first calculate, after
making the appropriate findings of fact, the sentencing range prescribed by the
Guidelines, and then will consider that range as well as other relevant factors
set forth in the Guidelines and those factors set forth in Title 18, United States
Code, Section 3553(a) before imposing the sentence.

f. The defendant, PAULA KAY BULLOCK, understands that if
she is not a citizen of the United States that entering a plea of guilty may have

adverse consequences with respect to her immigration status. The defendant,

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PAULA KAY BULLOCK, nevertheless wishes to enter a voluntary plea of
euilty regardless of any immigration consequences her guilty plea might entail,
even if such consequence might include automatic removal and possibly
permanent exclusion from the United States. The defendant, PAULA KAY
BULLOCK, further understands that in the event she is a naturalized citizen,
entering a plea of guilty may result in denaturalization proceedings being
instituted against her leading to her removal and possible permanent
exclusion from the United States.

3. By voluntarily pleading guilty to Counts Seven and Twenty-Two of
the Superseding Indictment herein, the defendant, PAULA KAY BULLOCK,
knowingly waives and gives up her constitutional rights to plead not guilty, to
compel the United States to prove her guilt beyond a reasonable doubt, not to
be compelled to incriminate herself, to confront and cross-examine the
witnesses against her, to have a jury or judge determine her guilt on the
evidence presented, and other constitutional rights which attend a defendant
on trial in a criminal case.

4. The defendant, PAULA KAY BULLOCK, is going to plead guilty to
Counts Seven and Twenty-Two of the Superseding Indictment herein because

she is, in fact, guilty and not because of any threats or promises.

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5. The extent of the plea bargaining in this case is as follows:

a. Upon the acceptance by the Court of a guilty plea by the
defendant, PAULA KAY BULLOCK, to Counts Seven and Twenty-Two of the
Superseding Indictment herein, and at the conclusion of the sentencing
hearing thereon, the United States of America will not oppose a motion to
dismiss the remaining counts of the Superseding Indictment as to the
defendant, PAULA KAY BULLOCK. This portion of the Plea Agreement is
made pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure.

b. It is understood that if the Court determines at the time of
sentencing that the defendant, PAULA KAY BULLOCK, qualifies for a 2-point
decrease in the offense level under Section 3E1.1(a) of the Sentencing
Guidelines and that the offense level prior to the operation of Section 3E1.1(a)
is 16 or greater, then the United States will recommend a decrease in the
offense level by 1 additional level pursuant to Section 3E1.1(b) of the
Sentencing Guidelines. This portion of the Plea Agreement is made pursuant
to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure.

ec. State law enforcement agencies are currently in possession of
computers and computer equipment belonging to defendant, PAULA KAY
BULLOCK, and listed as items 1, 2, 3, 5, 6, 7, 8, 15, 16, 21, 22, 23 and 25 on

the Durham Police Department Property and Evidence Voucher of items seized

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on 05/03/2017 at 17:00 hours with OCA File No. 17011952. The parties agree
that these listed items shall not be used, destroyed, or otherwise disposed of
and shall be returned to defendant, PAULA KAY BULLOCK, in accordance
with the policy of the Durham Police Department.

d. It is further agreed by and between the United States and the
defendant, PAULA KAY BULLOCK, that in exchange for the government's
agreement to dismiss the remaining counts of the Superseding Indictment
herein, the defendant expressly waives the right to appeal the conviction and
whatever sentence is imposed on any ground, including any appeal right
conferred by Title 18, United States Code, Section 3742(a), and further to waive
any right to contest the conviction or the sentence in any post-conviction
proceeding, including any proceeding under Title 28, United States Code,
Section 2255, excepting the defendant’s right to appeal or collaterally attack
based upon grounds of (1) ineffective assistance of counsel, (2) prosecutorial
misconduct not known to the defendant at the time of the defendant’s guilty
plea, (3) a sentence in excess of the statutory maximum, (4) a sentence based
on an unconstitutional factor, such as race, religion, national origin or gender,
(5) was imposed in violation of law, and (6) was imposed as a result of an

incorrect application of the sentencing guidelines.

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6. The defendant, PAULA KAY BULLOCK, agrees that pursuant to
Title 18, United States Code, Section 3613, any monetary penalties shall be
due immediately upon judgment and subject to immediate enforcement by the
United States. The defendant agrees that if the Court imposes a schedule of
payments, the schedule of payments shall be merely a schedule of minimum
payments and shall not be a limitation on the methods available to the United
States to enforce the judgment.

7, The defendant, PAULA KAY BULLOCK, agrees that any debt
resulting from criminal monetary penalties due under the criminal judgment
will be submitted to the Treasury Offset Program even if she is current in her
payments under any Court imposed payment schedule.

8. It is further understood that the United States and the defendant,
PAULA KAY BULLOCK, reserve the right to bring to the Court's attention
any facts deemed relevant for purposes of sentencing.

9. The defendant, PAULA KAY BULLOCK, further understands and
agrees that pursuant to Title 18, United States Code, Section 3013, for any
offense committed on or after October 11, 1996, the defendant shall pay an
assessment to the Court of $100 for each offense to which she is pleading guilty.
This payment shall be made at the time of sentencing by cash or money order

made payable to the Clerk of the United States District Court. If the
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defendant is indigent and cannot make the special assessment payment at the
time of sentencing, then the defendant agrees to participate in the Inmate
Financial Responsibility Program for purposes of paying such special
assessment.

10. No agreements, representations, or understandings have been
made between the parties in this case other than those which are explicitly set
forth in this Plea Agreement, and none will be entered into unless executed in
writing and signed by all the parties.

This the <“_ day of February, 2019.

MATTHEW G.T. MARTIN

 

 

 

 
 

United States Attorney Attorney for Defendant _
mak Hes , JR. — PAULA KAY BULLOCK
NCSBA £17696 Deferidant

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PAUL M. DUBBELING

 
